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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–27–M–DLC–1

                      Plaintiff,
                                                              ORDER
        vs.

 MATTHEW DESMOND BROWNE,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on November 16, 2016. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Matthew Desmond Browne’s

guilty plea after Browne appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with intent to

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distribute five kilograms or more of a substance containing a detectable amount of

cocaine in violation of 21 U.S.C. § 841(a)(1) (Count II), as set forth in the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts I and III of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

107), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Matthew Desmond Browne’s motion to

change plea (Doc. 95) is GRANTED and Matthew Desmond Browne is adjudged

guilty as charged in Count II of the Indictment.

      DATED this 2nd day of December, 2016.




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